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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

RENEE CONNELLY,                                    :
               Plaintiff,                          :
                                                   :
                      v.                           :       Civil No. 5:23-cv-02768-JMG
                                                   :
AMAZON.COM SERVICES, LLC,                          :
                  Defendant.                       :
__________________________________________


                                MEMORANDUM OPINION

GALLAGHER, J.                                                                 March 4, 2025

   I.      OVERVIEW

        In 2023, Plaintiff Renee Connelly filed this class action suit against her employer,

Defendant Amazon.Com Services, LLC (Amazon), alleging claims under the Pennsylvania

Minimum Wage Act (PMWA) and claims for breach of contract, unjust enrichment, and

quantum meruit. All these claims rely on the same argument: that Amazon implemented a

uniform policy requiring its employees to undergo COVID-19 temperature screenings each shift

without pay. The Pennsylvania Supreme Court has spoken on this issue: employees must be paid

for the time spent in these screenings. So the Class Members now seek their due compensation.

        Before the Court are three Motions. Plaintiff moves to certify two classes and two

subclasses of Amazon employees under Federal Rule of Civil Procedure 23(a) and (b)(3).

Plaintiff also moves to strike one of Amazon’s reports as untimely. And Amazon moves for

summary judgment, arguing that all Plaintiff’s legal claims fail. All three Motions are opposed.

For the reasons below, the Motion for Class Certification is granted with a modification, the




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Motion to Strike is denied, and the Motion for Summary Judgment is granted in part and denied

in part.

    II.       BACKGROUND

              A. Factual Background

                      1. Plaintiff’s Amazon Employment

           Plaintiff started working as a Seasonal Sortation Associate at Amazon’s Langhorne,

Pennsylvania delivery station (DEW4) in April 2020. Def.’s Statement of Undisputed Material

Facts at ¶ 1. 1 Her signed offer letter set her salary as “$15.00 per hour” and explained that she

“will be eligible for overtime pay in accordance with applicable laws.” Id. at ¶ 2. By signing the

letter, Plaintiff agreed that “the terms described in this letter will be the initial terms of your

temporary employment, and this letter supersedes any previous discussions or offers.” Id. at ¶ 3.

The letter did not state, nor did anyone tell Plaintiff, that she would be paid for any time spent

completing COVID-19 screenings. Id. at ¶¶ 4-5.


           In November 2020, Plaintiff became a permanent Sortation Associate at the DEW4

facility. Id. at ¶ 6. For this new position, Plaintiff signed another offer letter, which increased her

salary to “$15.25 per hour” and explained that she “will be eligible for overtime pay in

accordance with applicable laws.” Id. at ¶¶ 6-7. She again agreed that “the terms described in this

letter will be the initial terms of your employment, and this letter supersedes any previous

discussions or offers.” Id. at ¶ 8. Like the first letter, the second one did not state that she would

be paid for any time spent completing COVID-19 screenings. Id. at ¶ 9.




1
 Plaintiff did not submit a Statement of Undisputed Material Facts. Because Amazon did file
one and Plaintiff cites to it in her own briefing, the Court will rely on it as well.
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       Three months later, in February 2021, Plaintiff transferred to the delivery station in

Bristol, Pennsylvania. Id. at ¶ 10. She continued to work as a Sortation Associate there until July

8, 2021. Id. During her employment with Amazon, Plaintiff did not discuss with anyone the

possibility of being compensated for COVID-19 screenings. Id. at ¶ 11.


                     2. COVID-19 and Amazon’s Temperature Screening Policy

       The outbreak of the COVID-19 disease wrecked the world. Global and national officials

responded to the disease by issuing guidance and regulations. For instance, the World Health

Organization declared a global pandemic, the Center for Disease Control and Prevention

encouraged businesses to implement cleaning measures and keep sick employees home, the

United States federal government declared a national emergency and implemented the slow the

spread program, which encouraged individuals to work from home unless they were in a “critical

infrastructure program,” and the Occupational Safety and Health Administration recommended

employers to follow safety measures like social distancing. Id. at ¶ 13.


       State and local officials also took a leading role in the fight against COVID-19. In

Pennsylvania, the state’s Secretary of the Department of Health (“DOH”) issued an Order on

“Public Health Safety Measures” that allowed “life-sustaining businesses,” including Amazon, to

remain open during the COVID-19 pandemic. Id. at ¶ 14. The DOH Order also “order[ed] certain

actions to be taken by employers and their employees to protect their health and lives, the health

and lives of their families, and the health and lives of the residents of the Commonwealth who

depend upon their services.” Id. at ¶ 15.


       One of these required measures included temperature screenings. Employers had to

“implement temperature screening before an employee enters the business, prior to the start of


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each shift . . . and send employees home that have an elevated temperature or fever of 100.4

degrees Fahrenheit or higher.” Id. at ¶ 16. They also had to “ensure employees practice social

distancing while waiting to have temperatures screened.” Id. at ¶ 17.


       In response to these orders, Amazon implemented the temperature screening policy. The

company required everyone who entered its facilities—including employees—to undergo

temperature screenings. Id. at ¶ 18. The screenings happened before employees started each shift

and they were sent home if their temperature was elevated. Id. At DEW4, Amazon first used a

handheld thermometer to do the screenings and then switched to thermal imaging cameras that

were placed inside the entrance door. Id. at ¶¶ 18-20. While at Amazon, Plaintiff Connelly

underwent temperature screenings using both methods. Id. at ¶¶ 19-23.


                     3.   The Clocking-In Process

       The temperature screenings impacted Amazon’s clocking-in process. Employees at the

company were required to record the time they spent working by clocking in and out at the

beginning and end of each shift and for meal breaks. Id. at ¶ 24. Physical time clocks were

located throughout the facilities for employees to use. Id. at ¶ 25.


       Amazon did not permit employees to clock in before undergoing temperature screenings.

In fact, the company mandated employees to clock in “after” the “thermal screening process.”

Pl.’s Mot. Class Certification, ECF No. 54, at 4. So employees punched in with the clocks after

they finished their screenings. Def.’s Statement of Undisputed Material Facts at ¶ 25.


       But the physical clocks were not the only way to clock in. Amazon also allowed

employees to clock in and out using a mobile application—the A-to-Z app—instead of the

physical time clocks. Id. at ¶ 26. Time and badge swipe records show that employees regularly


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used this method to punch in. For example, Plaintiff’s records show that she clocked in with the

app for 186 out of 189 of her shifts at one facility and for 78 out of 87 shifts at another. Id. at

¶ 28. Employees also routinely punched in using the app before entering the facility and

undergoing the temperature screenings. Def.’s Resp. Mot. Class Certification, ECF No. 60, at 5-

6.


           B. Procedural Background

       Plaintiff, a former non-exempt hourly paid Amazon employee, brought this lawsuit on

July 19, 2023, against Amazon seeking compensation for time spent in COVID-19 temperature

screenings. Amazon did not pay its employees for this time because it did not allow them to

clock in until after they finished the screenings. Amazon’s failure to pay, according to Plaintiff,

violates the PMWA and constitutes a breach of contract, or in the alternative, unjust enrichment

and quantum meruit. Pl.’s Mot. Class Certification, ECF No. 54, at 1. After this suit was filed,

the parties submitted the following three Motions.


                    1. Motion for Class Certification

       On November 15, 2024, Plaintiff Connelly filed a Motion for Class Certification. She

argues that “class certification is appropriate because this case involves a company policy

requiring all hourly employe[e]s to perform the same work each shift without pay.” Id. at 4.

Plaintiff seeks class certification of two classes and two subclasses under Federal Rule of Civil

Procedure 23(a) and (b)(3):


       •   PMWA Class: All current and former hourly paid employees of Amazon who

           underwent a COVID-19 screening during at least one week in Pennsylvania in

           the three-year period before July 19, 2023.


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                     o Subclass 1: All current and former hourly paid employees of

                         Amazon who underwent a COVID-19 screening and clocked-in on

                         a physical time clock at an Amazon site during at least one week in

                         Pennsylvania in the three-year period before July 19, 2023.

          •   Common Law Class: All current and former hourly paid employees of

              Amazon who underwent a COVID-19 screening during at least one week in

              Pennsylvania when they worked less than 40 hours in the four-year period

              before July 19, 2023.

                     o Subclass 1: All current and former hourly paid employees of

                         Amazon who received a written offer letter from Amazon and who

                         underwent a COVID-19 screening during at least one week in

                         Pennsylvania when they worked less 40 hours in the four-year

                         period before July 19, 2023.


Amazon opposes class certification. See generally Def.’s Resp. Mot. Class Certification, ECF

No. 60.


                       2. Motion to Strike

          On December 20, 2024, Plaintiff moved to strike Exhibit 1 to Amazon’s Response to

Plaintiff’s Motion for Class Certification, which is an expert report from Peter Nickerson.

Plaintiff claims that the Court should strike Exhibit 1 because the information in it was not

disclosed on time and was never produced during discovery. Pl.’s Mot. Strike, ECF No. 76, at 1.

Amazon also opposes excluding the Nickerson report. See generally Def.’s Resp. Mot. Strike,

ECF No. 77.



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                        3. Motion for Summary Judgment

           The same day that Plaintiff filed a Motion for Class Certification, Amazon filed a Motion

for Summary Judgment on the individual claims. In the Motion, Amazon argues that all of

Plaintiff’s claims fail. Amazon provides four reasons why the claims fail: (1) because the

temperature screenings do not count as compensable time since they were mandated by the

government; (2) because she was paid more than the minimum wage for every hour worked, (3)

because her offer letters do not promise compensation for time spent in temperature screenings,

and (4) because the temperature screenings benefitted Plaintiff Connelly. See Def.’s Mot. Summ.

J., ECF No. 53, at 2-4. Plaintiff mostly opposes summary judgment. 2 See generally Pl.’s Resp.

Mot. Summ. J., ECF No. 61.


    III.      DISCUSSION

           Currently before the Court are all three Motions: the Motion for Class Certification, the

Motion to Strike, and the Motion for Summary Judgment. The Court will address each Motion in

turn, beginning with the Motion for Class Certification.

              A. Class Certification

           “The class action is an exception to the usual rule that litigation is conducted by and on

behalf of the individual named parties only.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348

(2011) (quoting Califano v. Yamasaki, 442 U.S. 682, 700-701 (1979)) (internal quotation marks

omitted). To invoke the exception, “a class representative must be part of the class and possess

the same interest and suffer the same injury as the class members.” Id. at 348-49 (quoting East

Tex. Motor Freight System, Inc. v. Rodriguez, 431 U.S. 395, 403 (1977)) (other citation omitted)



2
 As the Court will explain below, there does seem to be one issue that Plaintiff concedes at
summary judgment—that she does not bring a straight time claim under the PMWA.
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(internal quotation marks omitted). “Rule 23(a) ensures that the named plaintiffs are appropriate

representatives of the class whose claims they wish to litigate.” Id. at 349.


       “[E]very putative class action must satisfy the four requirements of Rule 23(a) and the

requirements of either Rule 23(b)(1), (2), or (3).” Marcus v. BMW of N. Am., LLC, 687 F.3d 583,

590 (3d Cir. 2012) (citing Fed. R. Civ. P. 23(a)-(b)). To meet Rule 23(a), “(1) the class must be

so numerous that joinder of all members is impracticable (numerosity); (2) there must be

questions of law or fact common to the class (commonality); (3) the claims or defenses of the

representative parties must be typical of the claims or defenses of the class (typicality); and (4)

the named plaintiffs must fairly and adequately protect the interests of the class (adequacy of

representation, or simply adequacy).” Id. at 590-91 (internal quotation marks and citations

omitted).


       Because Plaintiff proceeds under Rule 23(b)(3), she must also prove: (1) “that questions

of law or fact common to class members predominate over individualized questions, which is

commonly called the predominance requirement,” and (2) “that the class action device is

superior to other methods for resolving the claims, which is often referred to as the superiority

requirement.” Ferreras v. Am. Airlines, Inc., 946 F.3d 178, 183 (3d Cir. 2019) (internal quotation

marks and citation omitted). “Class certification is proper only if the trial court is satisfied, after

a rigorous analysis that all of the necessary Rule 23 requirements have been fulfilled.” Id.

(quoting Wal-Mart Stores, Inc., 564 U.S. at 350-51) (internal quotation marks omitted).


                     1. The Proposed Classes

       As mentioned before, Plaintiff proposes two classes and two subclasses under Federal

Rule of Civil Procedure 23(a) and (b)(3). Three of the classes—the PMWA Class, the Common


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Law Class, and the Common Law Subclass 1—include “[a]ll current and former hourly paid

employees of Amazon who underwent a COVID-19 screening” regardless of how these

employees clocked in. The PMWA Subclass 1, on the other hand, is limited to employees who

“clocked-in on a physical time clock.” The failure of the three proposed classes to differentiate

between which method the employees used to clock in prevents class certification under both

commonality and predominance. To show this point, the Court begins with what commonality

and predominance require.


       Rule 23 requires Plaintiff to show “questions of law or fact common to the class.” Fed.

R. Civ. P. 23(a)(2). The key to commonality “is not the raising of common ‘questions’—even in

droves—but rather, the capacity of a class-wide proceeding to generate common answers apt to

drive the resolution of the litigation. Dissimilarities within the proposed class are what have the

potential to impede the generation of common answers.” Wal-Mart Stores, Inc., 564 U.S. at 350

(emphasis in original).


       Predominance “asks whether the common, aggregation-enabling, issues in the case are

more prevalent or important than the non-common, aggregation-defeating, individual issues.”

Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453, (2016) (citation omitted). The

predominance inquiry requires courts to “give careful scrutiny to the relation between common

and individual questions in a case. An individual question is one where members of a proposed

class will need to present evidence that varies from member to member, while a common

question is one where the same evidence will suffice for each member.” Id. (internal quotation

marks omitted).




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       “The commonality and predominance requirements are closely linked.” Ferreras, 946

F.3d at 185. The predominance requirement, however, is “far more demanding than the

commonality requirement.” Id. (quoting In re Hydrogen Peroxide Antitrust Litig., 552 F.3d 305,

311 (3d Cir. 2008)). Indeed, “where an action is to proceed under Rule 23(b)(3), the

commonality requirement is subsumed by the predominance requirement.” Id. (quoting Danvers

Motor Co., Inc. v. Ford Motor Co., 543 F.3d 141, 148 (3d Cir. 2008)). “If the commonality

requirement cannot be met, then the more stringent predominance requirement obviously cannot

be met either.” Id. (citation omitted).


       Seven common questions are offered by Plaintiff: “(1) whether the time spent waiting to

be screened was compensable under the PMWA; (2) whether the time spent being screen[ed]

was compensable under the PMWA; (3) whether the time spent on Amazon’s premises after the

screening but prior to clocking-in was compensable under the PMWA; (4) whether Amazon

entered a contract with each Class Member; (5) whether the form offer letter issued by Amazon

expresses the terms of that contract; (6) whether Amazon breached its contract with each Class

Member; and (7) whether Amazon was unjustly enriched by not compensating Plaintiff and the

Class Members for the time spent in the COVID screenings.” Pl.’s Mot. Class Certification, ECF

No. 54, at 15. All these questions boil down to one: whether the time spent undergoing COVID-

19 temperature screenings is compensable?


       Plaintiff claims that the commonality and predominance requirements are satisfied. She

begins by arguing that In re Amazon.com, Inc., 667 Pa. 16, 255 A.3d 191 (2021) (Heimbach),

answers the common question. In that case, the Pennsylvania Supreme Court considered the

following question on certification from the United States Court of Appeals for the Sixth Circuit:

“whether time spent on an employer’s premises waiting to undergo, and undergoing, mandatory

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security screenings is compensable as ‘hours worked’ within the meaning of the [PMWA].” Id.

at 192. The state supreme court answered that such time was compensable, finding “all ‘time

during which an employee is required by the employer to be on the premises of the employer’ as

compensable hours worked, regardless of whether the employee is actually performing job-

related duties while on the premises.” Id. at 204 (citation omitted). Because Heimbach

establishes that Amazon must pay the Class Members for time spent in COVID-19 screenings,

Plaintiff asserts that the only thing left to do is to prove liability and damages through common

evidence. To establish liability, she points to Amazon’s “company-wide COVID screening

policy” that required employees to clock in after finishing their screenings. Pl.’s Mot. Class

Certification, ECF No. 54, at 19. To establish damages, she turns to timekeeping data to show

how much estimated time employees spent completing the screenings. Id. at 25.


       But Plaintiff’s proposed classes cannot meet commonality and predominance because of

a factor she initially ignored—the use of the A-to-Z app. Plaintiff attempts to prove classwide

liability by showing that all Class Members were subject to Amazon’s COVID-19 temperature

screening policy. This argument assumes that the Class Members were not paid for the time

spent undergoing the screenings because Amazon required them to clock in with a physical time

clock afterward. If this assumption is correct, then all Class Members are entitled to be paid for

the time spent in the screenings because that time happened off the clock.


       That presumption is wrong though. As Amazon points out, Plaintiff and other employees

were also able to clock in with the A-to-Z app. Def.’s Resp. Mot. Class Certification, ECF No.

60, at 1. And some of the employees who clocked in with the app did so before they passed

through the screenings. Id. at 5-6. The Court cannot conclude then that the common question—

whether time spent completing the screenings is compensable—can “generate common

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answers.” Wal-Mart Stores, Inc., 564 U.S. at 350 (emphasis in original). After all, even if

Heimbach requires Amazon to pay employees for the time spent in temperature screenings, the

employees who punched in with the app before they completed the screenings were already paid

for that time. So each Class Member will still have to prove that they were not actually paid for

the time they spent going through the screenings and thus are entitled to more compensation than

they received. See Ferreras, 946 F.3d at 185 (“The plaintiffs will still need to go through the

process of proving that each individual employee worked overtime and is thus entitled to

additional compensation, regardless of any common evidence about American’s timekeeping

system.”). These individualized liability considerations cut against class certification under Rule

23. See Vaccaro v. Amazon.com.dedc, LLC, 2024 WL 4615762, at *11 (D.N.J. Oct. 30, 2024)

(citing Kurihara v. Best Buy Co., Inc., 2007 WL 2501698, at *10 (N.D. Cal. Aug. 30, 2007)).

“Having failed to show commonality, [Plaintiff] necessarily fail[s] too in [her] effort to show

predominance.” See Ferreras, 946 F.3d at 186.


       Vaccaro v. Amazon.com.dedc, LLC, 2024 WL 4615762 (D.N.J. Oct. 30, 2024), supports

the conclusion that the use of the app prevents Plaintiff from meeting commonality and

predominance. 3 In that case, the plaintiffs, who were hourly employees, alleged that Amazon

failed to pay overtime wages to them for their time spent undergoing mandatory security

screenings after clocking out. Id. at *1-3. The court held that the plaintiffs failed to meet

commonality and predominance for three reasons: “not all putative class members were subject

to a uniform policy that required them to undergo mandatory post-shift security screenings

without receiving overtime pay[;] [n]ot all New Jersey facilities consistently implemented

security screenings during the class period; and the A-Z App introduced in 2020 has made it

3
 Of course, the District of New Jersey’s decisions are not binding on courts in the Eastern
District of Pennsylvania. But such decisions can still be persuasive.
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possible for employees to clock out after security screenings and therefore be compensated

accordingly.” Id. at *10.


       The first two reasons—that not all plaintiffs were subject to Amazon’s screening policy

and that not all Amazon facilities in New Jersey consistently applied the policy—fail to move the

needle here because it is undisputed that the Class Members in this case, unlike the ones in

Vaccaro, were subject to a uniform policy in Pennsylvania facilities that required them to

complete COVID-19 temperature screenings before their shifts. Pl.’s Reply Br. in Support of

Mot. Class Certification, ECF No. 73, at 2.


       But the third reason is spot-on. In Vaccaro, the employees were able to use the A-to-Z

app to “wait to clock out until after they pass[ed] through security screening.” Vaccaro, 2024

WL 4615762, at *10 (emphasis in original). The court found that this use of the app defeated

commonality and predominance since the common evidence of Amazon’s timekeeping system

“would not allow the Court to determine liability ‘for all class members in one fell

swoop,’ . . . because any employee who used the A-Z App to clock out after proceeding through

the post-shift security screening would not be entitled to additional compensation.” Id. at *11.

While the app was used in post-shift screenings in Vaccaro and pre-shift screenings here, the

outcome is the same—the fact that some employees were paid for undergoing the screenings

creates a “question of . . . liability” that destroys commonality and predominance. Id.


       Plaintiff addresses the app problem for the first time in her reply brief and tries to

circumvent it in two ways. First, Plaintiff argues that common evidence of Amazon’s

timekeeping system “can identify when each employee[] clocked-in before or after the

screening.” Pl.’s Reply Br. in Support of Mot. Class Certification, ECF No. 73, at 9. Therefore,


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according to Plaintiff, “there are no individualized issues because the data shows exactly when

each Class Member completed a COVID screening off-the-clock.” Id. Second, Plaintiff claims

that Vaccaro is not persuasive because its holding was based on the fact that “not all putative

class members were subject to a uniform policy that required them to undergo mandatory post-

shift security screening . . . [and] Not all New Jersey facilities consistently implemented security

screenings during the class period.” Id. at 15 (quoting Vaccaro, 2024 WL 4615762, at *10).


       Both arguments fail. First, it is true that the Nickerson report provides data showing when

each employee punched in for their shift and which method they used. 4 Plaintiff believes this

report solves the individualized liability problem because it “shows exactly when each Class

Member completed a COVID screening off-the-clock.” Pl.’s Reply Br. in Support of Mot. Class

Certification, ECF No. 73, at 9. But Plaintiff’s proposed classes still include Class Members who

were paid when they clocked in with the app before passing through the screenings. To prove

liability then the Court will have to look at each Class Members’ shifts to determine whether

their screening on a particular day happened on or off the clock. Although Plaintiff seems to

encourage these individualized assessments of liability, such assessments prevent class

certification. See Lutz Surgical Partners PLLC v. Aetna, Inc., 2023 WL 2153806, at *5 (D.N.J.

Feb. 21, 2023) (“Rule 23(b)(2) is not appropriate where ‘significant individual liability or

defense issues . . . would require separate hearings for each class member in order to establish

defendants’ liability.”) (quoting Santiago v. City of Phila., 72 F.R.D. 619, 627 (E.D. Pa. 1976)).


       Second, Plaintiff is right that the court in Vaccaro rejected class certification because

there was not a uniform COVID-19 screening policy implemented against all the plaintiffs in the

4
 Nickerson identified 2,744,536 shifts with corresponding swipe-ins and in-punches. Of those
shifts, Nickerson found that employees clocked in with a physical time clock 65% of the time
and with the app for the other 35%.
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various Amazon facilities in New Jersey. See Vaccaro, 2024 WL 4615762, at *10. But that was

only part of the reasoning. The court also found that “whether the employee was compensated

for the screening” raised a “question of . . . liability.” Id. at *11. This liability question defeated

commonality and predominance “because any employee who used the A-Z App to clock out

after proceeding through the post-shift security screening would not be entitled to additional

compensation.” Id. The Court finds that Vaccaro is persuasive because the same issue echoes

throughout this case. Thus, the proposed classes’ inclusion of employees who used the app to

clock in raises individualized liability issues that defeat class certification.


                      2. The Revised Classes

        Although the individualized liability problems posed by the app prevent Plaintiff’s

proposed classes from being certified, there is another avenue for class certification—this

Court’s inherent authority to redefine the proposed classes. “District courts possess the authority

to redefine proposed classes.” See Remick v. City of Philadelphia, 2022 WL 742707, at *5 (E.D.

Pa. Mar. 11, 2022) (citing Finberg v. Sullivan, 634 F.2d 50, 64 n.9 (3d Cir. 1980)) (other

citations omitted). “To the extent that some of the claims raised by the plaintiffs truly do require

the court to engage in individualized determinations, the court retains the discretion to decertify

or modify the class so that the class action encompasses only the issues that are truly common to

the class.” Baby Neal for & by Kanter v. Casey, 43 F.3d 48, 63 (3d Cir. 1994) (citing Fed. R.

Civ. P. 23(c)(4)).


        Here, by limiting the class to all people who clocked in with a physical time clock, the

Court can modify the proposed classes so that the individualized liability issues created by the

app are eliminated. Plaintiff seems to have anticipated this modification by proposing a subclass

of Amazon employees who underwent the COVID-19 temperature screenings and clocked in

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with a physical time clock. The Court will use this more limited definition to reconstruct both of

Plaintiff’s primary classes. So the definitions of the revised classes are:


       •   PMWA Class: All current and former hourly paid employees of Amazon who

           underwent a COVID-19 screening and clocked-in on a physical time clock at

           an Amazon site during at least one week in Pennsylvania in the three-year

           period before July 19, 2023.

       •   Common Law Class: All current and former hourly paid employees of

           Amazon who underwent a COVID-19 screening and clocked-in on a physical

           time clock at an Amazon site during at least one week in Pennsylvania when

           they worked less than 40 hours in the four-year period before July 19, 2023.


For the reasons laid out below, the revised classes meet the requirements for class certification

under Rule 23.


                          i.   Numerosity

       Under Rule 23(a)(1), the class must be “so numerous that joinder of all members is

impracticable.” Fed. R. Civ. P. 23(a)(1). A party seeking class certification must “be prepared to

prove that there are in fact sufficiently numerous parties,” Wal-Mart Stores, Inc., 564 U.S. at

350, and cannot rely on mere speculation with respect to the number of class members. Marcus,

687 F.3d at 596. “While [n]o minimum number of plaintiffs is required to maintain a suit as a

class action, [the Third Circuit] has said that generally if the named plaintiff demonstrates that

the potential number of plaintiffs exceeds 40, the first prong of Rule 23(a) has been met.” In re

Modafinil Antitrust Litig., 837 F.3d 238, 249-50 (3d Cir. 2016) (quoting Stewart v. Abraham,

275 F.3d 220, 226-27 (3d Cir. 2001)) (internal quotation marks omitted).


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       Plaintiff’s proposed classes contain over 30,000 individuals. But the revised classes are

limited to employees who underwent the screenings and clocked in with a physical time clock. It

is not clear whether this modification has reduced the number of Class Members. And if it has, it

is unclear by how much. Yet the common evidence shows that employees clocked in with a

physical time clock between 65% and 75% of the time. Pl.’s Reply Br. in Support of Mot. Class

Certification, ECF No. 73, at 5-6. Even at the low end, that puts the number of Class Members at

thousands of individuals—well above the general rule of 40. See In re Modanfinil, 837 F.3d at

249-50.


                         ii.   Commonality

       As discussed above, to satisfy this requirement, Plaintiff must show “questions of law or

fact common to the class.” Fed. R. Civ. P. 23(a)(2). “Commonality is satisfied when there are

classwide answers.” Reyes v. Netdeposit, LLC, 802 F.3d 469, 482 (3d Cir. 2015) (citing Wal-

Mart Stores, Inc., 564 U.S. at 350; Sullivan v. DB Invs., Inc., 667 F.3d 273, 298-300 (3d Cir.

2011)). This “means that determination of [the common question’s] truth or falsity will resolve

an issue that is central to the validity of each one of the claims in one stroke.” Wal-Mart Stores,

Inc., 564 U.S. at 350.


       Plaintiff’s revised classes meet commonality. The fatal problem for the proposed classes

was that the common question—whether the time spent undergoing COVID-19 temperature

screenings is compensable—could not generate common answers. Because regardless of the how

the Court decided that question, the fact that the Class Members used the app to clock in before

the screening during some shifts would require a shift-by-shift analysis to determine how much

time was actually compensable. Limiting the classes to employees who clocked in with a

physical time clock resolves this issue. Now, the only shifts included in the revised classes are

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the ones in which the Class Members clocked in with a physical time clock. Amazon does not

dispute that the screenings in all these shifts happened off the clock. See Pl.’s Reply Br. in

Support of Mot. Class Certification, ECF No. 73, at 5. So a yes or no answer to the common

question will allow the Court to determine liability for the entire class “in one stroke,” which

satisfies commonality. Wal-Mart Stores, Inc., 564 U.S. at 350; cf. Vaccaro, 2024 WL 4615762,

at *10.


          Amazon raises three arguments as to why the revised classes still fail to meet

commonality. None of them succeed. First, Amazon claims that limiting the classes to employees

who clocked in with a physical time clock creates more hurdles to certification because the Court

will not be able to determine which employees are Class Members. Def.’s Resp. Mot. Class

Certification, ECF No. 60, at 8. The Third Circuit has explained that “[i]f class members are

impossible to identify without extensive and individualized fact-finding or ‘mini-trials,’ then a

class action is inappropriate.” Carrera v. Bayer Corp., 727 F.3d 300, 305 (3d Cir. 2013) (quoting

Marcus, 687 F.3d at 593). Ascertainability is not a problem here because the common evidence

about Amazon’s timekeeping system reveals when each Class Member completed an off-the-

clock screening by punching in with a physical time clock. 5


          Another reason why Amazon believes that limiting the classes to employees who clocked

in with a physical time clock creates more hurdles to certification is that doing so would require

the Court “to offset any unpaid time clocking in at a physical timeclock with any extra (non-

compensable) time captured by A-to-Z app clock-ins on other days during the week to determine

whether a putative class member exceeded the 40 hour threshold that would trigger overtime

5
 Amazon’s own report identifies when each employee clocked in with a physical time clock.
Def.’s Resp. Mot. Class Certification, ECF No. 60-8, at 4 (“[E]mployees punched in using a
physical time clock approximately 65% of the time.”).
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liability.” Def.’s Resp. Mot. Class Certification, ECF No. 60, at 8-9. Offsetting is permitted in

certain cases. See Smiley v. E.I. Dupont De Nemours & Co., 839 F.3d 325, 332 (3d Cir. 2016)

(explaining that the FLSA “only provides for an offset of an employer’s overtime liability using

other compensation excluded from the regular rate pursuant to sections 207(e)(5)-(7) and paid to

an employee at a premium rate”). But Amazon has not cited any legal authority, and the Court

has not found any, that requires the Court to offset under the PMWA. So the Court declines to do

so.


       Second, Amazon argues that the question of whether the time spent on Amazon’s

premises after the screening but prior to clocking in was compensable under the PMWA defeats

commonality because it cannot generate common answers. Specifically, Amazon claims that

Class Members are not automatically entitled to pay for time spent on Amazon’s premises after

undergoing the screening but before clocking in because—depending on what each Class

Member was doing then—that time may be considered time spent on premises for employee

convenience, which is not compensable under the PMWA. Def.’s Resp. Mot. Class Certification,

ECF No. 60, at 13-14. Plaintiff disagrees, relying on the continuous workday rule. Pl.’s Reply

Br. in Support of Mot. Class Certification, ECF No. 73, at 12. Perhaps Amazon is right that this

time is not compensable. But “the class certification stage is not the place for a decision on the

merits.” Williams v. Jani-King of Philadelphia Inc., 837 F.3d 314, 322 (3d Cir. 2016) (quoting

Amgen Inc. v. Connecticut Ret. Plans & Tr. Funds, 568 U.S. 455, 465-66 (2013)). It is enough at

this point that the time spent on Amazon’s premises after completing the screening but before

clocking in may be compensable under the PMWA and that the common evidence captures that

time. See id.




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       Third, Amazon claims that the question of whether Amazon breached a contract with

each Class Member is also incapable of generating common answers. Under Pennsylvania law,

to state a cause of action for breach of contract, a “plaintiff must establish: (1) the existence of a

contract, including its essential terms, (2) a breach of a duty imposed by the contract, and (3)

resultant damages.” McShea v. City of Philadelphia, 995 A.2d 334, 340 (Pa. 2010) (quoting Hart

v. Arnold, 884 A.2d 316, 332 (Pa. Super. 2005)). “[F]or an agreement to exist, there must be a

‘meeting of the minds,’ . . . the very essence of an agreement is that the parties mutually assent to

the same thing.” Accu-Weather, Inc. v. Thomas Broad. Co., 625 A.2d 75, 78 (Pa. Super. 1993)

(citation omitted). Amazon argues that this question cannot generate common answers because

“there would have to be individualized inquiries to prove that each Class Member ascribed the

same meaning to the term ‘hours worked.’” Pl.’s Reply Br. in Support of Mot. Class

Certification, ECF No. 73, at 13. This too “is a question for another day.” 6 Davis v. Target

Corp., 2023 WL 8373162, at *2 (E.D. Pa. Dec. 1, 2023). The revised classes then satisfy

commonality.


                        iii.   Typicality

       Under the typicality requirement, “the claims or defenses of the representative parties

[must be] typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). “This ensures

the interests of the class and the class representatives are aligned ‘so that the latter will work to

benefit the entire class through the pursuit of their own goals.’” Newton v. Merrill Lynch, Pierce,


6
  Like the question of whether the time spent on Amazon’s premises after the screening but prior
to clocking in was compensable under the PMWA, this question goes to the merits of the breach
of contract claim and should be resolved at summary judgment. The Court will address
Plaintiff’s individual breach of contract claim later. But it does not need to answer that question
on a classwide basis. After all, Rule 23 does not require at this stage that common questions “be
answered, on the merits, in favor of the class.” Davis, 2023 WL 8373162, at *2 n.2 (citation
omitted).
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Fenner & Smith, Inc., 259 F.3d 154, 182-83 (3d Cir. 2001) (internal citations omitted). “Even

relatively pronounced factual differences will generally not preclude a finding of typicality

where there is a strong similarity of legal theories or where the claim arises from the same

practice or course of conduct.” In re Prudential Ins. Co. Am. Sales Practice Litig. Agent Actions,

148 F.3d 283, 311 (3d Cir. 1998) (quoting Baby Neal, 43 F.3d at 58) (internal quotation marks

omitted).

       Typicality is satisfied in this case. Plaintiff alleges that Amazon’s failure to pay her for

the time she spent in temperature screenings violates the PMWA and constitutes a breach of

contract, or in the alternative, unjust enrichment and quantum meruit. Pl.’s Mot. Class

Certification, ECF No. 54, at 1. The Class Members assert the same legal theories. Id. at 13.

Further, Plaintiff and the Class Members rely on common evidence: they were hourly paid

Amazon employees, they were paid under the same pay system, they were required to complete

temperature screenings each shift, and they were not paid for the time completing such

screenings. Id. at 8. Thus, Plaintiff’s claims are typical of the claims of the Class Members.

                        iv.    Adequacy

       Under Federal Rule of Civil Procedure 23, the party seeking class certification must

establish “the representative parties will fairly and adequately protect the interests of the class.”

Fed. R. Civ. P. 23(a)(4). This rule “tests the qualifications of class counsel and the class

representatives.” In re Nat’l Football League Players Concussion Inj. Litig., 821 F.3d 410, 428

(3d Cir. 2016). When considering class certification, courts should take special consideration as

to whether class counsel “(1) possessed adequate experience; (2) vigorously prosecuted the

action; and (3) acted at arm’s length from the defendant.” In re Gen. Motors Corp. Pick-Up

Truck Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 801 (3d Cir. 1995).



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       The adequacy requirement is met here. As a class representative, Plaintiff has participated

in discovery and raises the same claims as Class Members. See Barletti v. Connexin Software,

Inc., 2024 WL 1096531, at *4 (E.D. Pa. Mar. 13, 2024) (holding that adequacy is satisfied when

the class representative and class members assert the same claims and the class representative

has participated in discovery). Class counsel also meets the adequacy requirement because class

counsel have vigorously pursued this action and at least one other federal court has found class

counsel adequate. See Haro v. Walmart, Inc., 2024 WL 1160492, at *8 (E.D. Cal.

Mar. 18, 2024). These facts all cut in favor of adequacy.

                        v.    Predominance

       As explained before, this requirement “asks whether the common, aggregation-enabling,

issues in the case are more prevalent or important than the non-common, aggregation-defeating,

individual issues.” Tyson Foods, Inc., 577 U.S. at 453 (citation omitted). “An individual question

is one where ‘members of a proposed class will need to present evidence that varies from

member to member,’ while a common question is one where ‘the same evidence will suffice for

each member to make a prima facie showing [or] the issue is susceptible to generalized, class-

wide proof.’” Id. (quoting W. Rubenstein, Newberg on Class Actions § 4:50, pp. 196-97 (5th ed.

2012)). In carrying out the predominance inquiry, “‘court[s] must look first to the elements of the

plaintiffs’ underlying claims . . . through the prism of Rule 23’ to assess whether the class

members can prove their claims with ‘evidence that is common to the class rather than individual

to its members.’” Huber v. Simon’s Agency, Inc., 84 F.4th 132, 156 (3d Cir. 2023) (quoting

Reinig v. RBS Citizens, N.A., 912 F.3d 115, 127-28 (3d Cir. 2018)).


       The revised classes satisfy predominance. Plaintiff presents undisputed evidence that

Amazon had a uniform, written policy that required the Class Members to undergo unpaid


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COVID-19 temperature screenings. Plaintiff challenges this screening policy, arguing that

Heimbach requires Amazon to pay the Class Members for the time spent completing the

screenings. “Class actions in which a defendant’s uniform policies are challenged generally

satisfy the predominance requirement of Rule 23(b)(3).” Villa v. Cargill Meat Sols. Corp., 2024

WL 4374958, at *14 (M.D. Pa. Oct. 2, 2024) (quoting Haro v. Walmart, Inc., 2024 WL

1160492, at *9). Further, to establish liability and damages, Plaintiff relies on common evidence

about Amazon’s timekeeping system to show when the Class Members completed off-the-clock

screenings and provide an estimate for time the Class Members spent in screenings. Pl.’s Reply

Br. in Support of Mot. Class Certification, ECF No. 73, at 7. For class certification, “it is

permissible to rely on an expert’s estimates of typical task times.” Davis, 2023 WL 8373162, at

*5 (citations omitted).


       In response to Plaintiff’s argument, Amazon provides numerous reasons why Plaintiff

cannot meet predominance. Amazon first argues that there are significant variations in the Class

Member’s screening experience. For example, Plaintiff underwent both the handheld

thermometer and thermal camera protocols at one facility and then only the thermal camera one

at another. Def.’s Resp. Mot. Class Certification, ECF No. 60, at 17. The two different protocols

created variations in average wait times. See id. Amazon claims that these variations, and

Plaintiff’s failure to take them into account, mean that “employees need individualized, not

representative, evidence to prove their case.” Ferreras, 946 F.3d at 186. The fact that the

implementation of Amazon’s general screening policy resulted in some differences does not

defeat predominance. See, e.g., Davis, 2023 WL 8373162, at *5 (“[T]here is nothing necessarily

wrong with certifying a class of employees that includes some discrepant liability and damages

results because different employees worked different amounts of time—provided that there are


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central questions that predominate over those differences.”) (citing Tyson Foods, Inc., 577 U.S.

at 454-57)); Villa, 2024 WL 4374958, at *11 (“Differences in how the overarching screening

policies were implemented at each facility do not negate Defendant’s general directives

regarding screening that applied to the three Pennsylvania facilities at issue.”).


       Next, Amazon states that questions regarding the “the total time spent in the screenings

for a week, whether the class member clocked in before the start of their shift, and how much

time was compensated beyond their shift start” produce significant variations among the class.

Def.’s Resp. Mot. Class Certification, ECF No. 60, at 19. But the first question—total time spent

in screenings—is a damages question that does not undermine predominance. Talarico v. Pub.

Partnerships, LLC, 2022 WL 1524109, at *9 (E.D. Pa. May 12, 2022) (“[T]he need to calculate

damages will not defeat predominance.”); see also Hargrove v. Sleepy's LLC, 974 F.3d 467, 481

(3d Cir. 2020) (citing Vaquero v. Ashley Furniture Indus., Inc., 824 F.3d 1150, 1155 (9th Cir.

2016)). The second question—whether the class member clocked in before the start of their

shift—does create a substantial individualized liability issue, but this Court has resolved it by

limiting the class to employees who clocked in with a physical time clock. And the last

question—how much time employees were compensated beyond their shift start—goes to

offsetting, which the Court has already rejected.


       Amazon also attacks the ability of Plaintiff’s expert reports to be applied classwide.

Specifically, Amazon argues that neither of Amazon experts has provided a methodology that

can be applied as a common method of proof because they rely on unwarranted assumptions—

such as all facilities taking the same amount of time—and do not factor in the use of the app.

Def.’s Resp. Mot. Class Certification, ECF No. 60, at 21. Both assertions fail. As discussed

above, “it is permissible to rely on an expert’s estimates of typical task times.” Davis, 2023 WL

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8373162, at *5 (citations omitted). Further, “[t]o the extent [Amazon] will challenge these

reports as ‘unrepresentative or inaccurate,’ that in itself is a defense ‘common to the claims made

by all class members.’” Alfonso v. FedEx Ground Package Sys., Inc., 2024 WL 1007220, at *14

(D. Conn. Mar. 8, 2024) (quoting Tyson Foods, Inc., 577 U.S. at 457). And now that the revised

classes include only employees who clocked in with a physical time clock, at least one of the

reports can be used classwide because it applies “to those who exclusively used a physical

clock.” Def.’s Resp. Mot. Class Certification, ECF No. 60, at 21.


       Amazon then asserts that individualized proof will be needed to prove any entitlement to

a minimum wage or overtime. Whether a Class Member worked more than 40 hours a week

without proper minimum wage or overtime compensation can be determined from common

evidence about Amazon’s timekeeping system. See Talarico v. Pub. Partnerships, LLC, 2022

WL 1524109, at *9 (collecting cases).


       Finally, Amazon raises an Article III standing challenge. In TransUnion LLC v. Ramirez,

the Supreme Court explained that “[e]very class member must have Article III standing in order

to recover individual damages.” 594 U.S. 413, 431 (2021). Amazon does not think that each

Class Member can establish standing because some of them clocked in with the app before going

through the screening and thus have already been paid for that time, which means that they have

not suffered any actual injury. Def.’s Resp. Mot. Class Certification, ECF No. 60, at 24. This is

no longer a problem because the revised classes have been limited to employees who clocked in

with a physical time clock and thus did not receive compensation for undergoing the COVID-19

screenings during those shifts. See Pl.’s Reply Br. in Support of Mot. Class Certification, ECF

No. 73, at 5.



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       The bottom line is that Plaintiff brings a common question about whether the time that

Class Members spent undergoing COVID-19 screenings is compensable. This question can be

answered by common proof—Amazon’s uniform COVID-19 screening policy, the Pennsylvania

Supreme Court’s decision in Heimbach, expert reports, and Amazon’s own timekeeping records.

Plaintiff may also rely on this common proof, especially the expert reports and timekeeping

records, to establish damages. These facts all prove that the common question predominates over

individual liability and damages issues. This conclusion is supported by decisions from other

courts in this Circuit and outside of it. See, e.g., Davis, 2023 WL 8373162 (E.D. Pa. Dec. 1,

2023) (certifying a class seeking compensation for walking time under Heimbach); Villa, 2024

WL 4374958 (M.D. Pa. Oct. 2, 2024) (certifying a class seeking compensation for time spent in

COVID-19 screenings under Heimbach); Haro, 2024 WL 1160492 (E.D. Cal. Mar. 18, 2024)

(granting preliminary class certification for a class seeking compensation for time spent in

COVID-19 screenings); Martinez v. Amazon.com Servs. LLC, 2024 WL 4817214 (D. Md. Nov.

18, 2024) (certifying a class seeking compensation for time spent in COVID-19 screenings in

Amazon facilities); Alfonso, 2024 WL 1007220 (D. Conn. Mar. 8, 2024) (certifying a class

seeking compensation for time spent in COVID-19 screenings).


                        vi.    Superiority

       The superiority requirement of Rule 23(b) “asks the court to balance, in terms of fairness

and efficiency, the merits of a class action against those of alternative available methods of

adjudication.” In re Warfarin Sodium Antitrust Litig., 391 F.3d 516, 533-34 (3d Cir. 2004)

(internal quotation marks and citation omitted). In conducting this inquiry, the court must

consider “the class members’ interests in individually controlling litigation, the extent and nature

of any litigation, the desirability or undesirability of concentrating the litigation, and the likely


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difficulties in managing a class action.” In re Nat’l Football League Players Concussion Inj.

Litig., 821 F.3d at 435.


       Plaintiff meets the superiority requirement. Amazon claims that the individualized

liability and damages issues that it has flagged in the commonality and predominance context

defeat superiority because such issues would require “tens of thousands of mini-trials,” which

present serious difficulties in managing the case. Def.’s Resp. Mot. Class Certification, ECF No.

60, at 25 (quoting Henson v. Progressive Premier Ins. Co. of Illinois, 2024 WL 3051264, at *10

(E.D.N.C. June 10, 2024)). The Court rejects this claim because “[c]ommon proof will be at the

center of both the liability and damages determinations, with individualized issues appearing to

take a secondary—and calculations-only—role.” Davis, 2023 WL 8373162, at *6. Thus,

superiority has been met as well.


       Since the Court has found that superiority, and all other Rule 23 factors, have been

satisfied, the revised classes should be certified.


           B. Motion to Strike

       Under Rule 26(a)(2), a party must disclose the identity of any expert witnesses who may

testify at trial and that disclosure must be accompanied by a written report prepared by the expert

witness. Fed. R. Civ. P. 26(a)(2). “When Rule 26’s requirements are not met, district courts may

exclude evidence on a motion to strike under Rule 37.” Cost v. Borough of Dickson City, 858 F.

App’x 514, 516 n.5 (3d Cir. 2021) (citing Fed. R. Civ. P. 37(c)(1)). However, “the exclusion of

critical evidence is an extreme sanction, not normally to be imposed absent a showing of willful

deception or flagrant disregard of a court order by the proponent of the evidence.” Id. (quoting In

re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 791-92 (3d Cir. 1994)).


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       In deciding whether to exclude evidence, “the United States Court of Appeals for the

Third Circuit has held that a district court must consider:


       (1) the prejudice or surprise of the party against whom the excluded evidence

       would have been admitted;


       (2) the ability of the party to cure that prejudice;


       (3) the extent to which allowing the evidence would disrupt the orderly and

       efficient trial of the case or other cases in the court; and


       (4) bad faith or wilfulness in failing to comply with a court order or discovery

       obligation.”


Pritchard v. Dow Agro Scis., 263 F.R.D. 277, 282 (W.D. Pa. 2009) (citing Nicholas v.

Pennsylvania State University, 227 F.3d 133, 148 (3d Cir. 2000)). In addition, district courts

must “consider the importance of the excluded testimony.” Smith v. Katz, 696 F. App’x 582, 593

(3d Cir. 2017) (citation omitted).


       The Court declines to strike Amazon’s report. Plaintiff moves to strike the Nickerson

report because the information in it was not disclosed on time and was never produced during

discovery. Pl.’s Mot. Strike, ECF No. 76, at 1. This untimeliness led to prejudice, according to

Plaintiff, because the deadlines for Phase 1 discovery and class certification have closed and trial

is only a few months away. Pl.’s Reply Br. in Support of Mot. Strike, ECF No. 80, at 5. Even if

the report is untimely, striking it would be inappropriate because any prejudice caused by the

untimeliness “is slight, easily curable, and unlikely to disrupt trial.” Brown v. Robert Packer




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Hosp., 341 F.R.D. 570, 574 (M.D. Pa. 2022). In fact, although trial was already scheduled,

Plaintiff had another round of discovery to address the report. See Order, ECF No. 17.


       The decision not to exclude the report is also supported by its importance. Smith, 696 F.

App’x at 593. Not only was the report important to Amazon’s arguments at this stage, but

Plaintiff also relied on it heavily in an attempt to circumvent the individualized problems raised

by the app. Pl.’s Reply Br. in Support of Mot. Class Certification, ECF No. 73, at 9. It is odd that

Plaintiff now seeks to strike it. But Plaintiff cannot have her cake and eat it too. So the Motion to

Strike is denied.


           C. Summary Judgment

       Summary judgment is appropriate when the moving party “shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). A factual dispute is “genuine” when the “evidence is such that a reasonable jury

could return a verdict for the nonmoving party.” Physicians Healthsource, Inc. v. Cephalon, Inc.,

954 F.3d 615, 618 (3d Cir. 2020). A fact is material if “it might affect the outcome of the suit

under governing law.” Id. (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)).

       The party moving for summary judgment must “identify[] those portions of the

pleadings, depositions, answers to interrogatories, and admissions on file, together with the

affidavits, if any, which it believes demonstrate the absence of a genuine issue of material fact.”

Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986) (internal quotation marks omitted). In

response, the nonmoving party must then “designate specific facts showing that there is a

genuine issue for trial.” Id. at 324 (internal quotation marks omitted). “The mere existence of a

scintilla of evidence in support of the [nonmovant’s] position will be insufficient; there must be



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evidence on which the jury could reasonably find for the [nonmovant].” Daniels v. Sch. Dist. of

Phila., 776 F.3d 181, 192 (3d Cir. 2015) (quoting Anderson, 477 U.S. at 252).

       In applying this standard, the court must “construe the evidence in the light most

favorable to the non-moving party.” Anderson, 477 U.S. at 255. At the summary judgment stage,

the court’s role is not to weigh the evidence and determine the ultimate truth of the allegations.

Baloga v. Pittston Area Sch. Dist., 927 F.3d 742, 752 (3d Cir. 2019). Instead, the court’s task is

to determine whether there remains a genuine issue of fact for trial. Id.

       Amazon states that Plaintiff’s claims fail at summary judgment for four reasons: (1)

because the temperature screenings do not count as compensable time since they were mandated

by the government; (2) because she was paid more than the minimum wage for every hour

worked, (3) because her offer letters do not promise compensation for time spent in temperature

screenings, and (4) because the temperature screenings benefitted Plaintiff Connelly. See Def.’s

Mot. Summ. J., ECF No. 53, at 2-4. Only the second argument partially succeeds.


                     1. Whether the COVID-19 Screenings Count as Compensable Time

       Counts I and II of Plaintiff’s Second Amended Complaint raises PMWA claims for the

unpaid wages from all the time spent in Amazon’s COVID-19 screenings. In Count I, Plaintiff

brings a PMWA claim “for ‘all hours worked’ in a workweek.” SAC, ECF No. 20, at ¶¶ 64-68

(citing 43 P.S. § 333.104(a)). In Count II, she brings another PMWA claim for overtime

compensation. Id. at ¶¶ 69-73. Both claims rely on Heimbach.


       The PMWA entitles employees to compensation for “all hours worked” in a week. See 43

P.S. § 333.104(a). Although the PMWA does not define “hours worked,” the Pennsylvania

Supreme Court has explained that the phrase includes four categories of an employee’s time,

with the first two being when an “employee is required by the employer to be on the premises of

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the employer” and when an employee is required to be at her “prescribed work place.” Def.’s

Mot. Summ. J., ECF No. 53, at 12 (citing 34 Pa. Code § 231.1(b)).


       Amazon attempts to circumvent Heimbach by saying that its own screening policy was

the government’s fault. In response to COVID-19 Pennsylvania issued the DOH Order, which

allowed life-sustaining businesses, including Amazon, to remain open during the pandemic and

required those businesses to “implement temperature screening before an employee enters the

business, prior to the start of each shift . . . and send employees home that have an elevated

temperature or fever of 100.4 degrees Fahrenheit or higher.” Id. at 11. Amazon argues that the

time Plaintiff spent in screenings does not fall under any category of “hours worked” because the

screenings were required by Pennsylvania through its DOH Order, not Amazon as an employer.

Id. And none of the categories of Section 231.1 provide compensation when a government

requires an employee to be at work.


       The Court agrees with Plaintiff that Heimbach contradicts Amazon’s creative argument.

In that case, the facts were almost identical to the ones here: Amazon warehouse workers in

Pennsylvania claimed that they were entitled to pay for the time they spent waiting for and

undergoing security screenings after their shifts. 7 Heimbach, 255 A.3d at 193-94. The state

supreme court concluded that “all time spent by the employees waiting to undergo, and

undergoing, the security screenings constitutes ‘hours worked’ within the meaning of Section

231.1 and, thus, within the meaning of the PMWA.” Id. at 204 (citation omitted). Like

Heimbach, this case revolves around “time that warehouse workers spend on a ubiquitous

activity that occurs after (and here, before) their primary job-related tasks.” Davis v. Target


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 Here, the employees were required to undergo COVID-19 screenings before their shifts, not
after.
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Corporation, 2025 WL 553354, at *8 (E.D. Pa. Feb. 19, 2025). This Court then will follow

Heimbach’s conclusion that “hours worked” under the PMWA includes time spent in COVID-19

screenings, which invalidates Amazon’s argument about who actually required the screenings.

Other courts in this Circuit have also followed the state supreme court’s lead in Heimbach. See

id. at *9 (collecting cases).


        Even if Heimbach did not control this issue, Amazon’s argument fails because it contains

a logical error. Amazon attempts to circumvent the fact that the PMWA requires compensation

for time spent undergoing COVID-19 screenings by stating that it was the government, not

Amazon, that required the screenings. But that argument ignores that Amazon had a written

policy that required its employees to undergo COVID-19 screenings before they entered the

facilities. Def.’s Statement of Undisputed Material Facts at ¶ 18. It is this policy that Plaintiff

challenges under Heimbach, not the DOH Order. See Pl.’s Mot. Class Certification, ECF No. 54,

at 16. And because Amazon is Plaintiff’s employer, the PMWA applies. See 34 Pa. Code

§ 231.1(b). Therefore, Plaintiff’s PMWA claims survive this argument.


                      2. Whether Plaintiff’s Straight Time Claim Is Cognizable Under the

                          PMWA

        The PMWA requires employers to “pay employees a base rate and overtime pay.”

Nardelli v. Lamparski, 2023 WL 3901299, at *4 (W.D. Pa. June 8, 2023) (citing 43 P.S.

§ 333.104). In her Second Amended Complaint, Plaintiff brings a PMWA claim in Count I for

“compensation for ‘all hours worked’ in a workweek” and a PMWA claim in Count II for

overtime. Compare SAC, ECF No. 20, at ¶¶ 64-68, with id. ¶¶ 69-73. Amazon argues that Count

I is a “straight time” claim that “fails because Plaintiff cannot recover additional non-overtime

wages under the PMWA for workweeks under 40 hours when Amazon paid her over twice the

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required minimum wage (at least $15 compared to $7.25 per hour) even accounting for time in

COVID-19 screening.” Def.’s Reply Br. in Support of Mot. Summ. J., ECF No. 71, at 2. Amazon

provides legal support for this argument. See Nardelli v. Lamparski, 2023 WL 3901299, at *3

n.2, *4; Rui Tong v. Henderson Kitchen Inc., 2018 WL 4961622, at *5 (E.D. Pa. Oct. 12, 2018);

Ahmed v. Highway Freight Sys., Inc., 2014 WL 6473375, at *4 (E.D. Pa. Nov. 19, 2014).


       Plaintiff’s response to this argument dooms Count I. She does not dispute Amazon’s

argument. Rather, she states that she only “seeks overtime wages under the PMWA” and that

“[t]he only straight time claims that Plaintiff is seeking are being raised through Plaintiff’s

breach of contract and quantum meruit/unjust enrichment claims, not the PMWA.” Pl.’s Resp.

Mot. Summ. J., ECF No. 61, at 11. Taking Plaintiff at her word then, she should only have one

PMWA claim: the one for overtime which is Count II of the Second Amended Complaint. So the

PMWA claim in Count I falls at summary judgment. McCowan v. City of Philadelphia, 603 F.

Supp. 3d 171, 193 (E.D. Pa. 2022) (“[W]hen a plaintiff fails to raise an argument in opposition to

a motion for summary judgment, it is waived.”).


       Amazon’s second argument that the PMWA claims fail because of Plaintiff’s use of the

app are not persuasive. As the Court has discussed above, offsetting is not required under the

PMWA. Therefore, the fact that Plaintiff used the app to clock in before entering the building on

some days does not defeat the overtime claim. And while the Court agrees that Plaintiff cannot

establish liability for those shifts, there is no dispute that she did clock in with a physical time

clock on other days. See Def.’s Mot. Summ. J., ECF No. 53, at 14. Heimbach requires

compensation for those off-the-clock screenings. So Plaintiff’s Count II PMWA overtime claim

continues past summary judgment.



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                    3. Whether Plaintiff’s Contract Establishes an Entitlement to

                        Compensation for Time Spent in the COID-19 Screenings

       In Count III of the Second Amended Complaint, Plaintiff asserts a breach of contract

claim against Amazon for failing to pay her for the time spent in COVID-19 screenings. SAC,

ECF No. 20, at ¶¶ 74-87.


       To establish a claim for breach of contract under Pennsylvania law, a “plaintiff must

establish: (1) the existence of a contract, including its essential terms, (2) a breach of a duty

imposed by the contract, and (3) resultant damages.” McShea, 995 A.2d at 340 (quoting Hart v.

Arnold, 884 A.2d at 332). “[F]or an agreement to exist, there must be a ‘meeting of the

minds,’ . . . the very essence of an agreement is that the parties mutually assent to the same

thing.” Accu-Weather, Inc., 625 A.2d at 78 (citation omitted).


       Plaintiff’s breach of contract claim relies on the theory that Amazon agreed to pay her for

“all hours worked.” Pl.’s Resp. Mot. Summ. J., ECF No. 61, at 13. Since 2009, the term “hours

worked” has included “all the time that the worker is required by the employer to be on the

employer’s premises.” Lugo v. Farmer’s Pride, Inc., 967 A.2d 963, 969 (Pa. Super. Ct. 2009).

Heimbach has established that this term now includes the time spent in COVID-19 screenings.

Thus, Plaintiff states that she is entitled to pay for the time she spent in screenings because

Amazon agreed to pay her for “all hours worked,” which triggers Heimbach. Amazon responds

by splitting hairs: it claims that Plaintiff’s contract did not promise compensation for “all hours

worked.” It simply agreed to pay her “$15.00 per hour.” Def.’s Statement of Undisputed Material

Facts at ¶ 2. So Heimbach does not apply and Plaintiff cannot point to any other contractual

provision requiring Amazon to pay her for the time she spent in screenings. Def.’s Mot. Summ.

J., ECF No. 53, at 15-18.

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       Here, the Court reads “per hour” and “all hours worked” to mean the same thing. As

Amazon states, “a court is constrained to construe the parties’ contract based on the parties’

outward and objective actions—particularly, the plain terms of their written agreement.”

Nicholas v. Hofmann, 158 A.3d 675, 693 (2017) (citations omitted). The dictionary definition of

“per” is “for each.” 8 So “per hour” in this context means “for each hour.” While for “each” hour

refers to the individual hours, “all” hours refers to the hours as a whole. They still refer to the

same general group, meaning that they have the same plain meaning. 9


       Of course, Plaintiff’s contract only uses “per hour” and the PMWA and Heimbach focus

on “all hours worked.” Any difference between the phrases then would require “per hour” to

describe something other than “per hour worked.” But that would be an absurd reading since

employment contracts typically agree to compensation for time worked. Lexington Ins. Co. v. W.

Pennsylvania Hosp., 423 F.3d 318, 326 (3d Cir. 2005) (“This reading highlights the important

principle of Pennsylvania contract law, which requires courts to give effect to all of the language

of the agreement whenever possible.”). Therefore, in the context of this employment contract,

the Court finds that “per hour” and “all hours worked” mean the same thing, which allows

Plaintiff to seek a breach of contract claim under Heimbach.


       Heimbach’s broad language supports this conclusion. The state supreme court

acknowledged that the PMWA “manifests this Commonwealth’s strong public policy protecting

an employee’s right to be adequately compensated for all hours for which they work.”

Heimbach, 255 A.3d at 200. Seizing on that language, the Heimbach court handed down a


8
  Per, Merriam-Webster, https://www.merriam-webster.com/dictionary/per (last visited Feb. 27,
2025).
9
  Every vs. All vs. Each, GrammarforExperts, https://grammarforexperts.com/every-vs-all-vs-
each/ (Jan. 3, 2023).
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sweeping opinion—it did not “confine[] its holding to the security screening fact pattern before

it" and it used “expansive language” to flesh out the meaning of “hours worked” under the

PMWA. Davis, 2025 WL 553354, at *8. Amazon’s position would allow defendants to escape

liability by avoiding three magic words in their employment contracts: “all hours worked.” This

workaround is contradicted by the breadth of Heimbach’s mandate. Thus, Plaintiff’s breach of

contract claim withstands summary judgment.


                    4. Whether Plaintiff’s Unjust Enrichment and Quantum Meruit

                        Claims Fall Because She Benefited from the COVID-19 Screenings

       At the end of her Second Amended Complaint—Counts IV and V—Plaintiff brings

claims for unjust enrichment and quantum meruit. SAC, ECF No. 20, at ¶¶ 88-107.


       “A claim for damages in quantum meruit is fundamentally an equitable claim of unjust

enrichment in which the party seeking recovery must demonstrate: (1) [the] benefits conferred on

defendant by plaintiff; (2) appreciation of such benefits by defendant; and (3) acceptance and

retention of such benefits under such circumstances that it would be inequitable for defendant to

retain the benefit without payment of value. The application of the doctrine depends on the

particular factual circumstances of the case at issue. In determining if the doctrine applies, our

focus is not on the intention of the parties, but rather on whether the defendant has been unjustly

enriched.” Meyer, Darragh, Buckler, Bebenek & Eck, P.L.L.C. v. L. Firm of Malone Middleman,

P.C., 179 A.3d 1093, 1102 (Pa. 2018)


       In this case, Amazon stresses the benefits that Plaintiff received from the COVID-19

screenings. For example, the screenings reduced the chance that Plaintiff would get infected by

the virus and ensured a safe workplace for her and her coworkers. Def.’s Mot. Summ. J., ECF


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No. 53, at 19-20. So even if Amazon did receive a benefit by implementing its screening policy,

the fact that the screenings benefitted Plaintiff as well prevents Plaintiff from establishing unjust

enrichment and quantum meruit claims. Argue v. Triton Digital Inc., 734 F. App’x 148, 151 (3d

Cir. 2018) (“Unjust enrichment does not exist whenever one party benefits another; rather, a

plaintiff must show circumstances that would make it unconscionable for the defendant to retain

the benefit conferred.”) Amazon turns to two cases in support of this argument: Perez v.

Walmart, Inc., 2021 WL 5741484, at *3 (W.D. Mo. Oct. 25, 2021) and Johnson v. Amazon.com

Services, LLC, 2023 WL 8475658, at *3 (N.D. Ill. Dec. 7, 2023).


       Amazon’s final argument ignores a key fact: Heimbach requires compensation for the

time spent in COVID-19 screenings. 255 A.3d at 204. And as explained before, “if an activity is

considered ‘work,’ it follows that an employer’s decision to withhold compensation for that work

is unjust or inequitable.” Order, ECF No. 32, at 1 n.1 (citing Steiner v. Mitchell, 350 U.S. 247

(1956); De Asencio v. Tyson Foods, Inc., 500 F.3d 361 (3d Cir. 2007)). At the very least, a

reasonable jury could find that withholding compensation required under Heimbach is unjust.

See Physicians Healthsource, Inc., 954 F.3d at 618. The two cases cited by Amazon are of no

help here because neither one dealt with COVID-19 screening time that was required to be

compensated by a state supreme court decision.


       Responding to this reality, Amazon states that “[t]he general rule in Pennsylvania is that a

common law remedy is not available where one is provided by statute.” Def.’s Mot. Summ. J.,

ECF No. 53, at 20 (citing Jackson v. Centennial Sch. Dist., 501 A.2d 218, 220 (Pa. 1985)). But

the Pennsylvania Supreme Court explained in that case that the statutory framework precluded

other remedies. Jackson, 501 A.2d at 219 (“In essence, the key to our analysis is the clear

legislative intent to confine the role of the judiciary to one of review of an administrative

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process.”). “[Amazon] ha[s] not shown how the PMWA provides a defined remedy within the

meaning of § [231.1] or otherwise bars the assertion of an alternative legal theory of unjust

enrichment for the failure to pay [for time spent undergoing COVID-19 screenings].” Hively v.

Allis-Chalmers Energy, Inc., 2013 WL 2557629, at *4 (W.D. Pa. June 10, 2013). So the unjust

enrichment and quantum meruit claims move beyond summary judgment.


   IV.      CONCLUSION

         For the reasons laid out above, Plaintiff’s Motion for Class Certification is granted. The

Revised Classes are certified. The Motion to Strike is denied. The Nickerson report is not

excluded. And Amazon’s Motion for summary judgment is granted in part and denied in part.

All but Count I of the Second Amended Complaint survives summary judgment. An appropriate

Order follows.


                                                      BY THE COURT:


                                                       /s/ John M. Gallagher
                                                      JOHN M. GALLAGHER
                                                      United States District Court Judge




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